Case 2:24-cv-01349-NR Document 29-2 Filed 10/07/24 Page 1of 2

REGEIMED... 2.01 COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE D
JUL 9 9 7024 Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT
DEPART TE rH OF PENNSYLVANIA

EXE

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> Notary Public

Commonwealth ef Pennsylvania - Netar

BARBARA ANN STIGGERS

Allegheny Ceunty
My Commission Expires September 24, 2027

Commission Number 1292868

COUNTY OF A | e an £ nef
e. oe

Name: 4 , est
Last Name First Name Middle Name or Initial Sultix
Residential Address: A239 Webster Age ue

City: Vs 4a Sloorala, State: Pa Zip Code: \S DAA >

Municipality (City, Boro. or Township): - Gender: FBO NBO

Mailing Address (if different from residential): _

City: State: Zip Code:
Election District of Candidate (district where registered to vote): A { He La cally ( ‘Ox an) 4 “
Office for which you are seeking nomination: _ Presidential Elector _
t
a '

Email address:

Name as it is to appear on the Ballot: Gerald! le | Wa) S+ a_| {2

CANDIDATE'S AFFIDAVIT - | do swear (or affirm) that my residence, my election district and the name of the office
for which | desire to be a candidate are as specified below, that | am eligible for said office, and that I will not knowingly
violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that | am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
have I been nominated by any other nomination papers for any such office; that if | am a candidate for election at a general
or municipal election I shall not be a registered and enrolled member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if 1 am
a candidate for election at a special election [ am not a registered and enrolled member of a political party; that 1 am not
a candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject

to this affidavit.

I swear (or affirm) to the above parts as required
Sworn (or affirmed) and subscribed before me this by the laws applic to the office I seek,

signature of Officer Administéring Signature of Candidate

Loam Pyle 11 Aau1887 _

Olfikial Title
My commission expires Se { ha B67" & Alf
ouny of Residence |

OFFICE USE ONLY

CT COUNTY CODE $ F [] [] M

AMOUNT RECEIVED

OFFICE DISTRICT POLITICAL NUMBER OF
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COMMENTS

CHECKER INPUT VERIFY

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DEPARTMENT OF STATE D
Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA
county oF_ Philadelphia
Name: Kleinhere . Nicole . K ;
Last Name J First Name Middle Name or Initial Suffix
Residential Address: 5321 iS Ant TRAN Stree tc
City: Philadetonia State: PA ZipCode: IAIGY
Municipality (City, Boro, or Township): P hila del phi “a Gender: FO MO NBO
Mailing Address (if different from residential):
City: State: Zip Code:
Election District of Candidate (district where registered to vote): Praoade els fA

Office for which you are seeking nomination: _ Presidential Elector

Email address: ASS Git Kellen ile: albey @ Amar \ib ons
Name as it is to appear on the Ballet: Nicole Ke New Kl\einbe as

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a candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject
3 eo ¢p this affidavit.
2 3 ! swear (or affirm) to the above parts as required
$ 3 worn (or affirmed) and subscribed before me this by the Jaws applicable to the office | seek.
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eats ZX day of Toly 2 ad ’
5 e SS . -
e * EES Tendture of Officer Administering Affirmation Signature of Candjiate
sages Netmy2~/ FeBocic. 2iS- 38y- 321)
$ g — : F Official Title Telephone Number
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